Case 2:19-cv-06840-CJC-MRW Document 124-1 Filed 12/02/22 Page 1 of 2 Page ID
                                 #:6317


 1
 2
 3
 4
 5
 6
 7
 8                        UNITED STATES DISTRICT COURT
 9                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                 SOUTHERN DIVISION
11
12    BRIAN HENDRICKS; ANDREW               Case No. 2:19-cv-6840-CJC-MRW
      SAGALONGOS, on behalf of
13    themselves and all others similarly   Hon. Cormac J. Carney
      situated,
14                                          [PROPOSED] ORDER VACATING
                     Plaintiffs,            DECEMBER 16, 2022 STATUS
15                                          CONFERENCE
             vs.
16                                          Action Filed: August 7, 2019
      AETNA LIFE INSURANCE
17    COMPANY;
                                            Filed concurrently with Joint Notice of
18                   Defendant.             Settlement in Principle and Request to
                                            Vacate December 16, 2022 Status
19                                          Conference
20
21
22
23
24
25
26
27
28
                                                                          [PROPOSED] ORDER
                                                            CASE NO. 2:19-CV-6840-CJC (MRWX)
Case 2:19-cv-06840-CJC-MRW Document 124-1 Filed 12/02/22 Page 2 of 2 Page ID
                                 #:6318


 1                               [PROPOSED] ORDER
 2         The Court, having reviewed the Parties’ Joint Notice of Settlement in
 3   Principle and Request to Vacate December 16, 2022 Status Conference, and good
 4   cause appearing, ORDERS as follows:
 5         1.    The status conference currently set for December 16, 2022 at 1:30 p.m.
 6   is VACATED.
 7         2. A Status Conference is set for February 17, 2023 at 1:30 p.m.
 8
 9
10   Dated: ___________, 2022
11
                                    By: _________________________________
12                                        Hon. Cormac J. Carney
                                          United States District Judge
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                             [PROPOSED] ORDER
                                           1                   CASE NO. 2:19-CV-6840-CJC (MRWX)
